8:05-cr-00162-LSC-TDT       Doc # 201      Filed: 07/28/06    Page 1 of 1 - Page ID # 1284




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )           8:05CR162
                    Plaintiff,                    )
                                                  )
      vs.                                         )             ORDER
                                                  )
GENARO FAVALA RAMIREZ,                            )
                                                  )
                    Defendant.                    )


      This matter is before the court on the motion of Carlos A. Monzon to withdraw as
counsel for the defendant, Genaro Favala Ramirez (Ramirez) (Filing No. 196). Mr. Monzon
represents he has a conflict of interest in this matter. The court held a hearing on the
motion on July 26, 2006. Mr. Monzon’s motion to withdraw (Filing No. 196) is granted. The
court determined Ramirez is eligible for appointment of counsel pursuant to the Criminal
Justice Act, 18 U.S.C. § 3006A, and the Amended Criminal Justice Act Plan for the District
of Nebraska.
      Donald B. Fiedler, 503 ½ South 11th Street, Omaha, NE 68102, (402) 346-6263, is
appointed to represent Ramirez for the balance of these proceedings pursuant to the
Criminal Justice Act. Mr. Monzon shall forthwith provide Mr. Fiedler with the discovery
materials provided the defendant by the government and such other materials obtained by
Mr. Monzon which are material to Ramirez’s defense.
      The clerk shall provide a copy of this order to Mr. Fiedler, and Mr. Fiedler shall enter
his appearance in this matter forthwith.
      IT IS SO ORDERED.
      DATED this 28th day of July, 2006.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
